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                                                                                IN THE CIRCUIT COURT OF THE
                                                                                FIFTEENTH JUDICIAL CIRCUIT, IN AND
                                                                                FOR PALM BEACH COUNTY, FLORIDA

                                                                                CASE NO.: 5O2009CAO4O800XXXXMBAG
    JEFFREY EPSTEiN,

                           Plaintiff,
   vs.

   SCOTT ROTHSTE]IN, individually,
   BRADLEY J. EDWARDS, individually,
   and EM., individually,

                           Defendants.
   _______________________________________________________________________/




                                                              NOTICE OF FILING

               COMES NOW the Defendant/CounterClaimant, BRADLEY EDWARDS, by and

   through his undersigned counsel, and hereby files the attached transcript of the telephone

   interview of                                     to supplement the proffer made in support of Counter-Claimant’s

   Motion for Leave to Amend to Assert Punitive Damages.

               I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

   U.S. Mail to all Counsel on the attached list on this                         ______   day of May 2011.




                                                                              Jack Scarola
                                                                              Florida Bar No.: 169440
                                                                              Searcy Denney Scarola Barnhart & Shipley, P.A.
                                                                              2139 Palm Beach Lakes Boulevard
                                                                              West Palm Beach, Florida 33409
                                                                              Phone: (561) 686-6300
                                                                              Fax: (561) 383-9451
                                                                              Attorney for Defendant/CounterClaimant
                                                                              Edwards




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                                         COUNSEL LIST

   Jack A. Goldberger, Esquire                      Martin Weinberg, Esquire
   jgoldberger@agwpa.com;                           Martin Weinberg, P.C.
   smahoney@agwpa.com                               20 Park Plaza, Suite 1000
   Atterbury, Goldberger & Weiss, P.A.              Suffolk, MA 02116
   250 Australian Avenue South, Suite 1400          Attorneys for Jeffrey Epstein
   West Palm Beach, FL 33401
   Phone: (561)-659-8300
   Fax: (561)-835-8691
   Attorneys for Jeffrey Epstein


   Farmer, Jaffe, Weissing, Edwards, Fistos &
   Lehrman, PL
   425 N. Andrews Avenue, Suite 2
   Fort Lauderdale, FL 33301
   Phone: (954)-524-2820
   Fax: (954)-524-2822
   Attorneys for Jeffrey Epstein

   Joseph L. Ackerman, Jr., Esquire
   jla~fowler-white.com
   Fowler White Burnett, P.A.
   901 Phillips Point West
   777 5 Flagler Drive
   West Palm Beach, FL 3340 1-6170
   Phone: (56 1)-802-9044
   Fax: (561)-802-9976
   Attorneys for Jeffrey Epstein

   Marc S. Nurik
   marc@nuriklaw.com
   Law Offices of Marc S. Nurik
   One E Broward Blvd., Suite 700
   Fort Lauderdale, FL 33301
   Phone: (954)-745-5849
   Fax: (954)-745-3556
   Attorneys for Scott Rothstein




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           PRIVILEGED PURSUANT TO FS 766.205(4) and/or WORK PRODUCT

   TELECON

   PARTICIPANTS:           JACK SCAROLA
                           BRAD EDWARDS


   RE:                     Edwards adv. Epstein
                           291874

   DATE:                   April 07, 2011




   JS:              Jack Scarola and Brad Edwards

   BE:   Hi

         Hi Jack! Hi Brad! How you guys doing?

   JS:   We’re doing fine, thank you. I’m sorry for all of the trouble and before we go any
         further, let me tell you, if I have your permission, I have started a tape recorder and I
         want to be able to tape this conversation from the very beginning. Is that alright with
         you?

         Sure, that’s fine, Jack. No problem

   JS:   Ok, good, thank you. I appreciate that. Let me start off by introducing myself. I know
         that Brad has spoken to you about me but I am Brad’s lawyer, and I assume that you can
         confirm that you and I have never had any communication before. Is that right?

         That’s correct.

   JS:   Alright. I have, however, gotten some information from Brad about conversations that
         you have had with him, and that will enable me, hopefully, to make this a little bit more
         efficient and take up a minimum amount of your time while still getting the information
         that we think is going to be helpful to us and to any jury that might ultimately have to
         hear these facts.

         So, let me begin by asking you first to tell us what your full name is.

                                     That’s my maiden name. My married name is
                *




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            Yes, he did. He did all the time. The worst one that I heard from his own mouth was this
            pretty 12 year old girls he had flown in for his birthday. It was a surprise birthday gift
            from one of his friends and they were from France. I did see them, I did meet them.
            Jeffrey bragged afterwards after he met them that they were 12 year olds and flown over
            from France because they’re really poor over there, and their parents needed the money
            or whatever the case is and they were absolutely free to stay and flew out. Those were
            the worst ones. He was constantly bragging about girls’ ages or where he got them from
            or their past and how terrible their past was and good he is making it for them.

    iS:     Where were the 12 year old girls flown to from France? Where did they come to?

            Palm Beach.

    iS:     And were they flown in on Jeff’s private plane or did they get transported?

            No. They were transported by somebody else.

   iS:      Ok. Was the sexual activity that went on on the airplane conducted in such a way so that

            any of the crew was aware of what was going on?
            They were told to knock if they had to come out, if the crew had to come out. They were
            told, you know, to come out as little as possible, so they weren’t out there hanging out
            watching everything, no, but it doesn’t take an idiot to put two and two together to say
            well there’s a whole bunch of half dressed teenagers on board with this old man who is
            constantly being massaged by them and he wants me to keep the door shut for what
            reason? I mean, only they could put that together, but yeah, they knew.

   iS:      Did Mr. Epstein ever talk to you about people of power and influence owing him favors?

            He would laugh about it, you know, I never really knew what to take serious from Jeffrey
            because he was such a funny character at times. You never knew if what he was saying
            was true or not. Yeah, lots of people owed him favors from what he told me. He’s got
            everybody in his pocket, and he would laugh about he helps people for the sole purpose
            in the end they owe him something. That’s why I believe he does so many favors in the
            first place.

   iS:      When and how did you first become aware that Mr. Epstein was in trouble with the law?

            I was first informed by, I think someone from the FBI called me first and started to ask
            me questions, and I started to answer the questions but then fear took over, and I just said
            look, I don’t know what’s going on, I’ve got a young family that I don’t want to risk, you
            know, please don’t bother me about this again, and it was real short simple conversation,
            and within a week or 2, I had gotten a call from Jeffrey’s attorney, and then a week later,
            Jeffrey himself.




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    is:     Ok, well let’s back up before we get to those conversations and tell me approximately

            when it was that you were contacted by the person who you believe was with the FBI.

            Ok. It’s hard for me to pinpoint, if I had to pinpoint it, it would be in 2007 sometime.

    iS:     Alight. And you were living in             at that time, correct?

            Correct.

    iS:     You were contacted by telephone?

            That’s correct, by my cell phone.

    iS:     Ok and do you have any idea how your name came up leading to that contact.

            No idea. No idea whatsoever. When I did ask, I was told that some girls had revealed
            my name, I guess, and that’s how everybody, the FBI knew to contact me.

    iS:     OK.

            But I don’t know ofthand or sorry, I just walked into the wrong room.

    iS:     Ok.

            Sorry go on.

   iS:      Yes & I’ll never tell her you said that.             how long was it after that phone call
            from the FBI person were you contacted by Mr. Epstein’s lawyers.
            Like a week. It was back to back to each other. I remember being so scared after talking
            to the FBI thinking what’s happening, what’s going on. It’s been like 6 years, 7 years at
            that stage, how did they find me & what do I have to do with this? So yeah, I do
            remember that very well, and it was only about a week later I was called by his attorney.

   iS:      Who was it that contacted you, do you remember?

            I want to say Bill Riley, but he might have been from the FBI. No, it was Bill Riley. Bill
            Riley. Not sure ifthat’s his correct name, but that’s what is coming to mind

   JS:      What do you remember about that conversation?

            I remember a Mr. Goldberger as well, I remember, there might have been two of them.

   iS:      Airight.




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           I can’t remember which one it was. I want to say Bill Riley is the good one.

   iS:     Airight, so either Bill Riley or a Mr. Goldberger or both of them contacted you, and what
           do you remember about that?

           I don’t know if it was the same guy who contacted me that week later who put me in
           touch with Jeffrey. I think he was on the phone and he put speakerphone on with Jeffrey.
           So he connected me with Jeffrey. I don’t know if it was the same guy or different, but I
           definitely know that Bill Riley was the first guy to contact me. I’m pretty sure about that.

   JS:     Ok. Tell me about that conversation.

           He asked me what I knew about what’s going on with Jeffrey and apparently, there was
           an investigation being held about some of the girls who had come out and said that
           Jeffrey had sexual contact with them under the age of a minor and that he was
           discrediting lot of these girls and making them out to be drug addicts and prostitutes and
           what have you so they wouldn’t be looked upon as worthy in the court’s eyes so to speak.
           And you know, he told me in the first five minutes that, you know, if I stay quiet, that
           “I’ll be looked after”. And that was the exact way it was said. It wasn’t like you know,
           I’m gonna pay you a zillion dollars or anything if you be quiet, but if I stay quiet, I would
           “looked after”. And I remember saying I don’t want any part to do with this. You know,
           this is not something I want to be a part of, I’ve got a young family. I wish the best for
           everybody in this, you know, take care kind of thing. A week later, I was called after the
           hearing by one of Jeffrey’s lawyers. I can’t tell you exactly which one it was but he had
           Jeffrey on the other line and he connected Jeffrey and I, and Jeffrey tried to make some
           simple conversation, “How are you? How have things been?” You know what I mean,
           catching up.

   JS:     Do you know if the lawyer, did the lawyer stay on the line while Jeffrey was speaking to
           you?

          I’m pretty sure he did. That’s why I think ieffrey was on speaker phone because it
          sounded a lot different, and I was never taken off the line to begin with or connected to
          another line, so I was pretty sure Jeffrey was on speaker phone and the lawyer was
          making the call. After the simple conversation, it led to what was going on again and you
          know, Jeffrey couldn’t believe it. You know, he thought he helped all these girls out. He
          didn’t think he was wrong in any circumstance here at all. A lot of these girls were drug
          addicts and just after drug money. You know, he was really putting down these women
          or these girls I should say, not giving them the credit they deserved, and then he exactly
          repeated what the lawyer said the week before is that he would look after me if I stayed
          quiet, and if I need any help, you know, his lawyers would represent me and he would get
          legal help for me, whatever I need, he would do, and I told him exactly, I said, “Jeffrey,
          I’m the mother of two children at that stage. I’m away from everything there, I don’t
          want to be a part of it. I’m not going to speak to anybody and I don’t want to speak to
          anybody, I don’t want to be involved.” That was the last time I heard from him. And the



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            next thing I knew, I was sent my victim’s letter, my notification of being a victim through
            the US Attorney’s Office and that’s when I knew it was well out there enough not to have
            Jeffrey’s lawyers come back on me and discredit me in the same way he had done to all
            the other girls. So, I called up Joseph Bird who was the recommended lawyers on my
            paperwork that they had given me and started going from there.

    JS:     So you contact Mr. ioseph Bergs’ office and then you were dealing with his office from
            that point forward.

            That’s correct.

   iS:      Tell me about the ending of your relationship with Jeffrey. That is, at what point in time
            did your full time employment end and how did that happen?

           Ok. So, it hadn’t really ended. I walked away from it all. Jeffrey sent me to Thailand
           where I met my husband and escaped to Australia, never to return back to the states.
           About 6 months prior to that, he came up with a proposition that I thought was really
           disgustingly sick. And it really showed me for the first time in 4 years I had been with
           him that nothing was going to change and I was always just going to be used by him(?)
           which I did not like. He offered me a mansion and some of his money every month, I
           forget what he called it, a monthly income of what he made to bear one of his children.
           The proposition was that if anything ever happened between Jeffrey and I, that I would
           have to sign my child over to him basically and that the child would be his and
           Ghislaine’s, and I would be looking after it as long as nothing happened between Jeffrey
           and I. So, I was kind of freaked out by all of that. I pushed Jeffrey more to please get me
           some more training, you know, and I was getting older and not of as much interest to
           Jeffrey anyways. I was 19 now, and he likes a female a lot younger. So he sent me to
           Thailand, in September 2002. I was first supposed to meet a girl there and bring her
           back with me, but I never met up with her. I proceeded get a short course in Thai massage
           so that was to shut me up about my training so I went there, and one of my friends from
           school invited me to watch a fight, like a muay thai fight, which is like a form
           kickboxing. So I went and watched it, and I saw this guy that was a really good fighter,
           and a girl’s word, looked really hot, so I asked my friend who knew him to introduce me.
           We got introduced and fell in love immediately, 3 days later              proposed and 7 days
           later I was being married in a buddist temple. I called Jeffrey and told him I’m sorry, I’m
           never coming back. I’ve gotten married, I’ve fallen in love. I thought he’d wish the best
           for me but he was kind of rude and he just said “have a good life” and hung up the phone,
           and that was the last time I’d talked to him ever until all this started again.

   iS:     Ok.             is there anything else that you would like to add to what you have told us
           up to this point in time?

           I’d like to know that this time around something’s going to be done about it and that
           Jeffrey and a lot of his colleagues, no matter how rich they are, will know that there is




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